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                AsPEN CAsEBOOK SERIES

  ECONOMIC ANALYSIS OF LAW

  NINTH EDITION




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                      Wolters Kluwer
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                 Published by Wolters Kluwer Law & Business in New York.

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                           Wolters Kluwer Law & Business
                           Attn: Order Department
                           PO Box 990
                           Frederick, MD 21705

                 Printed in the United States of America.

                1234567890

                 ISBN 978-1-4548-3388-8

                Library of Congress Cataloging-in-Publication Data

                Posner, Richard A
                    Economic analysis of law / Richard A Posner, Judge, U.S. Court of Appeals for
                  the Seventh Circuit, Senior Lecturer, University of Chicago Law School. - Ninth
                  Edition.
                       pages cm. - (Aspen casebook series)
                    Includes bibliographical references and index.
                    ISBN 978-1-4548-3388-8 (alk. paper)
                    1. Law and economics. I. Aspen Publishers. II. Title.
                     K487.E3P67 2014
                     349.73-dc23

                                                                                              2013046762




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    CHAPTER 7

                             1
    CRIMINAL LA w




        The Economic Nature and Function
        of Criminal Law


   The types of wrongful conduct examined in previous chapters, mainly torts
 and breaches of contract, subject the wrongdoer to having to pay money
   damages to his victim, or sometimes to being prohibited (that is, enjoined),
., on pain of being sanctioned for contempt of court, from continuing or
   repeating the wrong-but only if the victim sues. Crimes are prosecuted
•by the state, however, and the criminal is ordered to pay a fine to the state or
• to suffer a non pecuniary sanction such as being imprisoned. Trial procedure
js also different in the two kinds of case, but examination of the procedural
   differences is deferred to Chapter 22. For now our interest is in why there
  should be distinctive sanctions, sought by the state, for some types of wrong-
  doing and what substantive doctrines such sanctions entail.
     Five principal types of wrongful conduct are made criminal in the
  American legal system.

   1. Intentional torts, examined in the last chapter, that represent a pure
coercive transfer either of wealth or of utility from victim to wrongdoer.
Murder, robbery, burglary, larceny, rape, assault and battery, mayhem,
theft by false pretenses, and most other crimes that, like these, were punish-
able under the English common law correspond to such intentional torts as
assault, battery, tre~pass, and conversion, although we shall see that the
requirements concerning the defendant's state of mind and the presence
of an actual injury sometimes differ for the criminal counterpart of the
intentional tort. Here, however, are some problematic examples of crime
as pure coercive transfer:


  1. On the rules and principles, respectively, of criminal law, see Wayne R. LaFave, Criminal
Law (4th ed. 2003), and Ronald N. Boyce, Donald A. Drips & Rollin M. Perkins, Criminal Law
and Procedure: Cases and Materials (9th ed. 2004) (both on rules); and H.L.A. Hart, Pun-
ishment and Responsibility: Essays in the Philosophy of Law (1968), and George P. Fletcher,
Rethinking Criminal Law (2d ed. 2000) (both on principles).

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      ( 1) Counterfeiting can be viewed as a form of theft by false pretenses - the           the divorce ra
   pretense being that the payor is paying with legal tender. If the counterfeiting is        is harder if th,
   discovered, the victim is whoever ends up holding the worthless currency. Ifit is          correlation b<
   not discovered, the loss is more widely diffused. Since counterfeiting increases           until recently,
   the amount of money in circulation relative to the total stock of goods and                took their ph
  services in society, everyone's money is worth less (inflation); everyone but the              The reason
  counterfeiter, and a debtor whose repayment obligation is in fixed dollar                   For example,
   terms, is a loser. More important-for unless counterfeiting is widespread the              their improw
  effect on the supply of money will be slight- counterfeiting imposes dead-                  control over '
  weight costs in the form of the counterfeiter's tools and time (anq ~es,ulting loss         their childre1
  of productive employment) and of self-protective m~.(L'{1+res)bf merchant.s1                untary intero
  banks, and other enterprises that receive morify,from tlie public .. •                      course effect
      (2) Rape bypasses the marketin sexual relati6ns (marit9Jand otherwise) in               disrupt the w
  the same way that theft bypasses markets in ordinary goods and services. But                    Continuin:
  some rapists derive extra pleasure from the fact that the woman has not                     makes crimir
  consented. For these rapists there is no market substitute - market transac-
  tion costs are prohibitive-and an economist might therefore argue that for                    2. Deliben
  them rape is not a pure coercive transfer and should not be punished if the                 fixing (on wl
  pleasure to the rapist (as measured by what he would be willing to pay-                     common law
  though not to the victim-for the right to rape) exceeds the victim's
  physical and emotional pain. There are practical objections, such as that                      3. Volunta
  these rapists are hard to distinguish empirically from mere thieves of sex;                 know from C
  that giving them free rein would induce women to invest heavily in self-                    activities that
 protection, which would in turn incite heavy spending by rapists to overcome                 pornography
  that investment; and that there is no objective method of measuring the                     services at pri
 rapist's utility and the victim's disutility for the purpose of deciding which               narcotics.
 is greater. But the fact that any sort of rape license is even thinkable within
 the framework of the wealth-maximization theory that guides the analysis in                     4. Certain
 this book is a limitation on the usefulness of that theory. What generates the               fully attempt
 possibility of a rape license is the fact that the rapist's utility is weighted the          tortious atter
 same as his victim's utility. If his utility were given a zero weight in the cal-            not injured;:
 culus of costs and benefits, a rape license could not be efficient. But such a
 weighting would be based on ethical rather than economic thinking.                             5. Conduc
     (3) Marital rape. 1 Until recently marriage was a complete defense to a                  regulation. E
 charge of rape. In a society that prizes premarital virginity and marital chas-              concealing a
 tity, the cardinal harm from rape is the destruction of those goods and is not •
 inflicted by marital rape. In such societies the seduction of a married woman                  Why, th01:
 is a more serious crime than rape, as it is more likely to produce children -                leaps to mim
 and they will not be the husband's. In such societies, moreover, the main                    answer; we o
 services that a wife contributes to the marriage are sexual and procreative1                 punitive dan
 and to deprive her husband of these services is to strike at the heart of the                ficultwhen tl
 II1:arriage. A right to demand something does not entail a right to take it by               wrongdoer. J
 force, but it can dilute the felt impropriety of force. Furthermore, the lower               difficulty of 1
                                                                                              crimes as wel
                                                                                              be collectibli
   §7.1   1. See Richard A. Posner, Sex and Reason, ch. 14 (1992).                            that don't
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the divorce rate, the fewer separations there are; and proving lack of consent
is harder if the married couple is still together. The exception to the negative
correlation between divorce and separation is where, as in Catholic countries
until recently, divorce was forbidden but formal separations, often permanent,
wok their place.
   The reasons for not making marital rape a crime have lost force with time.
For example, the increasing financial independence of women, based on
their improved access to the labor market, has increased their demand for
control over their reproductive capacity, so that the timing and number of
their children are coordinated with their market career. Any form of, ~nvol-
untary intercourse impairs that control, at least in principle (f9r,)hir~- are of
course effective contraceptives), by creating the t:qrt';at,,of a\hfrth that,will
disrupt the woman's career.                                        , _  0
                                                                            ,


   Continuing with our typology of types of wrongful conduct that th~ law
makes criminal:                                                          ••
                                                                                                     I,'
                                                                                                     1:
                                                                                                     I

   2. Deliberate commission of acts that reduce social welfare, such as price
fixing (on which see Chapters 9-10), as may not have been recognized at
common law.

   3. Voluntary, and therefore presumptively (but only presumptively, as we
know from Chapters 3 through 6) value-maximizing, exchanges involving
activities that the state has outlawed, such as prostitution, trafficking in child
pornography, selling babies for adoption, selling regulated transportation
services at prices not listed in the carrier's published tariffs, and trafficking in                  i
                                                                                                      I,
narcotics.                                                                                            I




   4. Certain menacing but nontortious preparatory acts, such as unsuccess-
fully attempting or conspiring to murder someone when the elements of a
tortious attempt are missing (as they would be if, for example, the victim was
not injured and didn't even know of the attempt when it was made).

  5. Conduct that if allowed would complicate other forms of common l3;w
regulation. Examples are leaving the scene of an accident and fraudulently
concealing assets from a judgment creditor.

   Why, though, can't all five categories be left to the tort law? An answer
leaps to mind for categories 3 and 4: No one is hurt. But this is a superficial
answer; we could allow whomever the law was intended to protect to sue for
                                                                                                           I
punitive damages. A better, but incomplete, answer is that detection is dif-                          ! !
                                                                                                      j,
ficult when there is no victim to report the wrongdoing and testify against the
wrongdoer. Punitive damages can be adjusted upward to take account of the
difficulty of detection; in principle this device could take care of category 5
crimes as well. But the higher the punitive damages, the less likely they are to
he collectible. Another question about categories 3 and 4 is, why punish acts
that don't hurt anybody? For category 3, the answer lies outside of
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                                                                                                         §7.1.   The Eo

  economics; it is difficult for an economist to understand why, if a crime is
                                                                                                           tortfeasor esc
  truly "victimless," the criminal should be punished-though of course
                                                                                                          $100,000. On:
  ostensibly victimless crimes may, like other contractual exchanges, have
                                                                                                          cost to the pre
  third-party effects; the sale of liquor to a drunk driver is an example.                                   Once dam;:
 For category 4, the answer is bound up with the question - to which we                                   discourage efl
 now turn -why tort law is not adequate to deal with categories I and 2                                   tionship betw<
  (coerced transfers in violation of common law or statutory principles).                                 offset the defe
    We know from the last chapter that the proper sanction for a pure coercive                           exceed the tor
 transfer such as theft exceeds the law's estimate of the victim's loss-the                              society uses. (
 extra something being designed to confine transfers to the market wh.enever                             forms, such as
 market transaction costs are not prohibitive. 2 Damages equal to m,;irlzetvalue                         of concealme1
 would thus be inadequate even if the owner valued; the-good'itiquestion at its                          crimes. A third
 market price. He might well value it at a higher pdce (rerµe,mper that the                              punishment o
 market price is the value to the marginal, not the average, purchaser).                                 before it occrn
 The law cannot readily measure subjective values, so this is an argument for                           policing is mor
 adding a hefty bonus to damages based on market value and thus for heavy                               to any moneta1
 punitive damages in a case of theft.                                                                   fines rather th
    In the case of crimes that cause death or even just a substantial risk of                           damages if the
 death, properly computed damages will often be astronomical. Recall from                                   When tort re
 Figure 6.3 in Chapter 6 the nonlinear relation between risk and full com-                              any punitive dai
 pensation for bearing the risk. The risk of being killed by accident is more or                        need to invoke
less randomly distributed throughout the population. But the risk of being                             civil penalties ei
murdered is concentrated on the relatively small number of people who                                  antitrust and se
 constitute obstacles to the goals of persons willing to murder. The probabil-                         nally and sued ,
ity of those people being murdered may exceed the probability of their dying                           diets, for cases ii
accidentally, making the proper damages award greater than in the case ofa                             Itmightseem tl:
normal death, even a death caused by negligence.                                                       these cases wou
    We must also consider the effect of concealment on the correct level of                           than optimal, b<:
damages. Being for the most part a by-product of lawful, public activities,                           greater disutili~
accidents usually are difficult to conceal and breaches of contract usually                           rence the added
impossible to conceal. But someone who is deliberately endeavoring to take                            dants to hire ex1
something of value from someone else will naturally try to conceal what he is                         the defendant is
doing, and will often succeed because he has planned the concealment in                               punishment. M<
advance. A handy formula for deciding how much to award in damages if the                            having to pay a t
probability that the tortfeasor will actually be caught and forced to pay the                        wealth, may be ;;
damages is less than one is D = L/p, where Dis the optimal damages award, L                          tacts, etc.) that 12
the harm caused by the tortfeasor (including any aqjustment to discourage                                The decisive~
bypassing the market by coercing weal th transfers), and pthe probability of his                     that their wealt
being caught and made to pay D. If p = I, Land Dare the same amount. But if,                         damages becaw
for example, L = $10,000 and p = .I, meaning thafnine times out often the                            has through er:
                                                                                                     and the probab,
                                                                                                    percent. Then h
   2. Subject to two qualifications, discussed below at greater length. The first is that the       ficient to have d
wrongdoers be responsive to the higher monetary sanctions. If not, the design of a penalty
                                                                                                    $100 million. W1
structure is complicated. Second, if the costs of law enforcement are very high, it may make·
sense to shift some responsibility for crime prevention to potential victims of crime by light-
                                                                                                    award would no
ening penalties.                                                                                    imposition is les,
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  tortfeasor escapes the clutches of the law, then D, the optimal penalty, is
  $100,000. Only if the penalty is jacked up to this level is the expected penalty
  cost to the prospective tortfeasor (pD) equal to the harm caused by his act (L).
     Once damages in the pure coercive transfer case are adjusted upward to
 discourage efforts to bypass the market, to give effect to the nonlinear rela-
 tionship between risk of death and compensation for bearing the risk, and to
 offset the defendant's efforts at concealment, the level of damages will often
 exceed the tortfeasor's ability to pay. Three responses are possible, all ofwhich
 society uses. One is to impose disutility on the criminal in nonmonetary
 forms, such as imprisonment or death. Another is to reduce the prol:>ability
 of concealment of the offense by maintaining a police fore~ t9Jnvestigate
 crimes. A third, which involves both the maintenarice of a poff,2e f~~ce and the
 punishment of preparatory acts (category 4), is to _'prevent SriTinal activity
 before it occurs. If, for reasons that will be discussed in Chkpter 23, public
 policing is more efficient than private, the state is the enforcer and ha.$:a claim
 to anymonetary penalties imposed. So these penalties are paid to the state as
 fines rather than to the victims of crime as damages. The victims can seek
 damages if the crime is also a tort, whether common law or statutory.
     When tort remedies are an adequate deterrent because damages, including
.:mypunitive damages, are within potential defendants' ability to pay, there is no
 need to invoke criminal penalties, which, as explained below, are costlier than
.civil penalties even when only a fine is imposed. Although in some cases, such as
antitrust and securities fraud, affluent defendants are both prosecuted crimi-
hally and sued civilly, criminal sanctions generally are reserved, as theory pre-
   icts, for cases in which the tort remedy bumps up against a solvency limitation.
  tmightseem that the doqble punishment (tort and criminal) of the affluent in
 ·.hese cases would produce excessive punishment (punishment more severe
  han optimal, because the added severity costs more to achieve, and/ orimposes
. reaterdisutility on the defendant, than the benefit in whatever slight deter-
fence the added severity produces). But wealth enables afiluen t criminal defen-
9ants to hire excellent lawyers, reducing the probability of conviction (even if
~he defendant is guilty) and hence the deterrent effect of the threat of criminal
 ·unishment. More important, a wealthy defendant who "gets away" with just
   aving to pay a tort judgment, even if the judgment confiscates all his existing
   ealth, may be able to recoup quickly because the human capital (skills, con-
 , cts, etc.) that generated that wealth remains intact.                         .
(The decisive argument for imposing criminal sanctions on the affluent is
• ,at their wealth, however great, may fall short of the optimal level of
    mages because of concealment of the offense. Suppose the defendant
    s through criminal violations of securities law amassed $100 million,
    d the probability of his being caught and subjected to a tort suit is 20
    rcent. Then his expected punishment cost is only $20 million and is insuf-
    ient to have deterred him from the criminal activities that brought him
    00 million. Which means that even the prospect of a $100 million damages
      rd would not be sufficient to deter him, because the probability of its
     position is less than 100 percent.
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                                                                                                                      §

            The argument that the criminal law system is primarily (though not exclu-
         sively) designed for the nonaffluent is not refuted by the use of fines as a
                                                                                                                      fl
         criminal penalty. They generally are much lower than the corresponding
         tort damages, and even then are often forgiven because of the defendant's                                   1
         indigence.                                                                                                  a:

                                                                                                                     b
         §7 .2 Optimal Criminal Sanctions                                                                            ta
                                                                                                                     t1
                                                                                                                     m
        A person commits a crime because he thinks, though pftep. erroneously or in                                  ir
         the grip of madness, that the expecte_d bep.efitSJj'Whe'th~r pecuniary or emo-                              h;
         tional, exceed the expected costs. Mapy criminals J:iave a Jow IQ or psycho-                               el
        logical problems (or both) that mak~ 'it difficult £br them to obtain legal                                 of
         employment or make -a competent assessment of the r_eJative benefits and                                   in
         costs (including expected punishment costs) of criminal activity. Neverthe-
        less the empirical literature on crime finds that criminals respond to changes                              en
        in opportunity costs of criminals' time, in the probability of apprehension                                 SC.

         (and so in the number of police), in the length of prison terms, and in other                             pe
        relevant variables - and this regardless of whether the crime is committed                                 th
        for pecuniary gain or out of passion, or by well-educated or poorly educated                               co
        people,1 or for that matter by minors. 2                       •                                           en
            The costs of crime include various out-of-pocket expenses (for guns, bur-                              of
        glar tools, masks, etc.), as well as the opportunity costs of the criminal's time                          im
        and the expected costs of criminal punishment. The last will be our focus,                                 fel
        but it is useful to mention the others in order to bring out the possibility of                            is t
        controlling the level of criminal activity in ways other than by tinkering with                            me
                                                                                                                   (h(
        the level of law enforceme·nt activity and the severity of punishment.
        For example, the opportunity costs of crime could be iI?-creased, and thus                                 on
        the incidence of crime reduced, by reducing unemployment, which would
                                                                                                                  the
        increase the gains from lawful work. 3 The benefits of theft, and hence its
                                                                                                                  tio1
        incidence, might also be reduced by a redistribution of wealth away from the
                                                                                                                  alt(
        wealthy- or increased. It is easier to fence goods in common use, and they
                                                                                                                  off
        are more widely possessed in an egalitarian society; and a welfare system
                                                                                                                  the
                                                                                                                  less
            §7.2 I. For summaries of the empirical literature on the rational-choice model of                     oft
        criminal behavior, see Steven D. Levitt, Understanding Why Crime Fell in the 1990s: Four                  f'Xa
        Factors That Explain the Decline and Six That Do Not, J. Econ. Perspectives, Winter 2004,
        p. 163; Isaac Ehrlich, Crime, Punishment, and the Market for Offenses, 10 J. Econ. Perspec-
                                                                                                                 pro
        tives, Winter 1996, pp. 43, 55-63; DJ. Pyle, The Economic Approach to Crime and Punish-                  ple1
        ment, 6 J. Interdisciplinary Stud. l, 4-8 (1995). For an illustrative empirical study, see Steven        cou
        D. Levitt, The Effect of Prison Population Size on Crime Rates: Evidence from Prison Over-               see
        crowding Litigation, lll QJ. Econ. 319 (1996).
            2. See Steven D. Levitt,Juvenile Crime and Punishment, 106 J. Pol. Econ. ll56 (1998).
            3. For evidence that reducing the unemployment level does indeed reduce the incidence                    4.
        of property crimes, but that a more important way in which prosperity reduces crime is by                reno
        enabling larger state and local budgets for police and prisons, see Levitt, Understanding Why            Stew
        Crime Fell in the 1990s, note 1 supra, at 170-171.                                                       Inca1
